Case 2:04-cr-20452-.]PI\/| Document 29 Filed 04/25/05 Page 1 of 3 Page|D 33

iN THE UNITED sTATEs DISTRICT coURT bg
FOR THE wESTERN D:STRICT oF TENNESSEE 93§;£;
wEsTERN DIVISION l

P .

¢-w“.¢d|;_"r ', _

 

1
.D Gp
UNITED STATES OF AMERICA

Plaintiff,

Criminal No 6_%-'20¢{5>~ Ml

(30-Day Continuance)

 

é;$/?Q$?<>/ fig¢€> FP”`

 

 

 

)
)
)
)
)
)
)
)
)
)
)
)
)
)
)
)
)
)
)
)

Defendant(s).

 

CONSENT ORDER ON CRIMINAL CASE CONTINUANCE
AND EXCLUSION OF TIME

 

As indicated by the signatures below, the United States,
through its Assistant United States Attorney, and counsel for the
defendant(s) have agreed that, for good cause, this case should be
continued for reasons resulting in the exclusion of time under the
Speedy Trial Act. The case is currently set on the May, 2005,
criminal rotation calendar, but is now RESET for report at QLQQ
a.m. on Fridav, Mav 27, 2005, with trial to take place on the June,
2005 rotation calendar with the time excluded under the Speedy

Trial Act through June 17, 2005. Agreed in open court at report

date this 22m~day of April, 2005.

L_. j;.~-._," W'. ‘,
W“"“’QS,'
IN

Case 2:O4-cr-20452-.]P|\/| Document 29 Filed 04/25/05 Page 2 of 3 Page|D 34

so oRDERED this 22nd day of April, 2005.

Q»QWOQ,Q

JON PHIPPS MCCALLA
TED STA'I`ES DISTRICT JUDGE

Qi// 7,&2%

Assistant United States Attorney

¢HVWQ%%/

Counsel for Defendant(s)

 

 

 

 

   

UNITED sTATE DRISTIC COURT - WETERN D's'TRCT oFTENNESSEE

Notice of Distribution

This notice confirms a copy of the document docketed as number 29 in
case 2:04-CR-20452 Was distributed by faX, mail, or direct printing on
April 27, 2005 to the parties listed.

 

 

Bruce I. Griffey

LAW OFFICES OF BRUCE I. GRIFFEY
142 North Third St.

3rd Floor

l\/lemphis7 TN 38103

David Pritchard

U.S. ATTORNEY'S OFFICE
167 N. Main St.

Ste. 800

l\/lemphis7 TN 38103

Linda Parson Khumalo

LAW OFFICE OF LINDA KHUMALO
P.O. Box 40184

l\/lemphis7 TN 3 8174

Honorable J on McCalla
US DISTRICT COURT

